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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:14CR51
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
ADAN ZUNIGA-PEREZ,                              )
                                                )
                      Defendant.                )
       This matter is before the court on the motion for an extension of time by defendant Adan
Zuniga-Perez (Zuniga-Perez) (Filing No. 43). Zuniga-Perez seeks an additional thirty days in
which to file pretrial motions in accordance with the progression order. Zuniga-Perez has filed
an affidavit wherein he consents to the motion and acknowledges he understands the additional
time may be excludable time for the purposes of the Speedy Trial Act (Filing No. 44). Zuniga-
Perez's counsel represents that government's counsel has no objection to the motion. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Zuniga-Perez's motion for an extension of time (Filing No. 43) is granted.
Zuniga-Perez is given until on or before June 30, 2014, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between May 29, 2014, and June
30, 2014, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 29th day of May, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
